Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 1 of 92 Page ID #:470




    1 KING, HOLMES, PATERNO & SORIANO, LLP
      HOWARD E. KING, ESQ., STATE BAR NO. 77012
    2 JOHN G. SNOW, ESQ., STATE BAR NO. 280790
      JACKSON S. TRUGMAN, ESQ., STATE BAR NO. 295145
    3 JSNOW@KHPSLAW.COM
      1900 AVENUE OF THE STARS, TWENTY-FIFTH FLOOR
    4 LOS ANGELES, CALIFORNIA 90067-4506
      TELEPHONE: (310) 282-8989
    5 FACSIMILE: (310) 282-8903
    6 Attorneys for Defendant
      BRIAN WARNER
    7
    8
    9                                     UNITED STATES DISTRICT COURT
   10                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   11
   12 ESMÉ BIANCO,                                      CASE NO. 2:21-CV-3677-FLA-MAR
   13                        Plaintiff,                 DECLARATION OF HOWARD E.
                                                        KING IN SUPPORT OF
   14             vs.                                   DEFENDANT BRIAN WARNER’S
                                                        OPPOSITION TO MOTION TO
   15 BRIAN WARNER a/k/a MARILYN                        MODIFY SUBPOENA
      MANSON, individually; MARILYN
   16 MANSON RECORDS, INC.,                             Date: Sept. 30, 2022
                                                        Time: 1:30 pm
   17                        Defendants.                Crtrm.: 790
   18                                                   The Hon. Margo A. Rocconi
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        3310.090/1851389.1
     Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 2 of 92 Page ID #:471




                1                           Declaration of Howard E. King
                2        I, Howard E. King, declare the following pursuant to 28 USC § 1746:
                3        1.     I am an attorney licensed to practice law before this court and serve as
                4 counsel for Brian Warner in the above-captioned action. The following facts are
                5 within my personal knowledge and, if called as a witness herein, I can and will
                6 competently testify thereto.
                7        2.     On May 15, 2022, I received two voicemails on my office phone. The
                8 caller identified herself as Ashley Morgan Smithline. She said she “fired” her “former
                9 attorney,” and wanted to speak to me. I did not speak with her. I searched the number
            10 and it appeared to be associated with Ms. Smithline based on public records.
            11           3.     Attached hereto as Exhibit A is a true and correct copy of an email
            12 exchange between myself and Jay Ellwanger from June 30 to July 1, 2022.
            13           4.     Attached hereto as Exhibit B is a true and correct copy of an excerpt of
            14 an email exchange between attorneys in my office and Mr. Ellwanger from July 11 to
            15 July 12, 2022.
            16           5.     Attached hereto as Exhibit C is a true and correct copy of the subpoena
            17 and notice of deposition my office served on July 12, 2022.
            18           6.     Attached hereto as Exhibit D is a true and correct copy of an email
            19 exchange between attorneys in my office and Mr. Ellwanger from August 10 to
            20 August 16, 2022.
            21           7.     Attached hereto as Exhibit E is a true and correct copy of an email
            22 exchange between myself and Mr. Ellwanger on August 16, 2022.
            23           8.     Attached hereto as Exhibit F is a true and correct copy of an email
            24 received from Mr. Ellwanger’s office on August 16, 2022.
            25           9.     Attached hereto as Exhibit G is a true and correct copy of a purported
            26 privilege log received from Mr. Ellwanger’s office on August 17, 2022.
            27           10.    Attached hereto as Exhibit H is a true and correct copy of an email
            28 exchange between myself and Mr. Ellwanger from August 16 to 18, 2022.
K NG, HOLMES,
 PATERNO &     3310.090/1851389.1                    1
SORIANO, LLP                                                             DECLARATION OF HOWARD E. KING
     Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 3 of 92 Page ID #:472




                1             11.        Attached hereto as Exhibit I is a true and correct copy of an email
                2 exchange between attorneys in my office and Mr. Ellwanger from August 16 to 25,
                3 2022.
                4             12.        Attached hereto as Exhibit J is a true and correct copy of an email
                5 exchange between myself and Mr. Ellwanger from August 25 to 26, 2022.
                6             13.        Attached hereto as Exhibit K is a true and correct copy of an email
                7 exchange between myself and Mr. Ellwanger from August 25 to 29, 2022.
                8             14.        Attached hereto as Exhibit L is a true and correct copy of Instagram
                9 messages between Ms. Smithline and a third party that I received on August 29, 2022.
            10                15.        Attached hereto as Exhibit M is a true and correct copy of an email
            11 exchange between myself and Mr. Ellwanger from August 25 to 30, 2022.
            12                16.        Attached hereto as Exhibit N is a true and correct copy of Instagram
            13 messages between Ms. Smithline and a third party that I received on August 30, 2022.
            14                17.        Attached hereto as Exhibit O is a true and correct copy of an email
            15 exchange between myself, Ms. Smithline, and Mr. Ellwanger on August 30, 2022.
            16                18.        Attached hereto as Exhibit P is a true and correct copy of an email I
            17 received from Ms. Smithline on August 30, 2022.
            18                19.        Attached hereto as Exhibit Q is a true and correct copy of an email I
            19 received from Ms. Smithline on August 30, 2022.
            20                I declare under penalty of perjury that the foregoing is true and correct.
            21
            22 Dated: September 1, 2022
            23                                                          /s/ Howard E. King
                                                                          Howard E. King
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K NG, HOLMES,
 PATERNO &          3310.090/1851389.1                              2
SORIANO, LLP                                                                    DECLARATION OF HOWARD E. KING
     Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 4 of 92 Page ID #:473




                1                                   CERTIFICATE OF SERVICE
                2             I hereby certify that on the 1st day of September 2022, all counsel of record
                3 who are deemed to have consented to electronic service are being served with a copy
                4 of this document via the Court’s CM/ECF system.
                5
                6 DATED:                 September 1, 2022   KING, HOLMES, PATERNO &
                                                             SORIANO, LLP
                7
                8
                9                                            By:        /s/ Howard E. King
            10                                                                HOWARD E. KING
            11                                               Attorneys for Defendant BRIAN WARNER

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K NG, HOLMES,
 PATERNO &          3310.090/1851389.1                             3
SORIANO, LLP                                                                DECLARATION OF HOWARD E. KING
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 5 of 92 Page ID #:474




                               EXHIBIT A
      Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 6 of 92 Page ID #:475


Jackson Trugman

From:                                 Jay Ellwanger <jellwanger@equalrights.law>
Sent:                                 Friday, July 1, 2022 11:57 AM
To:                                   Howard King
Cc:                                   John Snow; Jackson Trugman; Karen Sloane; Meghan Romere
Subject:                              RE: Bianco v Warner


You have been misinformed. Subsequent to our conversation, Howard, I confirmed our continued representation of her
and she rejected your settlement overture.

Jay D. Ellwanger | Partner | Ellwanger Law LLLP
8310-1 N. Capital of Texas Hwy., Ste. 190
Austin, Texas 78731
(737) 808-2262 (o) & (f)
(512) 731-7467 (m)
jellwanger@equalrights.law
www.ellwangerlaw.com
He/Him/His




From: Howard King <hking@khpslaw.com>
Sent: Friday, July 1, 2022 1:54 PM
To: Jay Ellwanger <jellwanger@equalrights.law>
Cc: John Snow <JSnow@khpslaw.com>; Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane
<ksloane@khpslaw.com>; Meghan Romere <mromere@equalrights.law>
Subject: RE: Bianco v Warner

Jay

Please confirm you still represent Smithline. She continues to tell people she has terminated your services and
is no longer pursuing her claims.


Howard E. King, Esq.
King, Holmes, Paterno & Soriano, LLP
1900 Avenue of the Stars, 25th Floor
Los Angeles, CA 90067
Telephone: 310-282-8999
Facsimile: 310-282-8903
Email:     hking@khpslaw.com

From: Jay Ellwanger <jellwanger@equalrights.law>
Sent: Friday, July 1, 2022 11:49 AM
To: Howard King <hking@khpslaw.com>
                                                             1
    Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 7 of 92 Page ID #:476
Cc: John Snow <JSnow@khpslaw.com>; Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane
<ksloane@khpslaw.com>; Meghan Romere <mromere@equalrights.law>
Subject: RE: Bianco v Warner

Howard,

Ready to work with you to make sure we have a confirmed schedule to move the discovery process forward for both
sides. Accordingly, please also confirm that you are also prepared to produce Mr. Warner for deposition in the next 30
days.

Thanks,

Jay D. Ellwanger | Partner | Ellwanger Law LLLP
8310-1 N. Capital of Texas Hwy., Ste. 190
Austin, Texas 78731
(737) 808-2262 (o) & (f)
(512) 731-7467 (m)
jellwanger@equalrights.law
www.ellwangerlaw.com
He/Him/His




From: Howard King <hking@khpslaw.com>
Sent: Friday, July 1, 2022 1:24 PM
To: Jay Ellwanger <jellwanger@equalrights.law>
Cc: John Snow <JSnow@khpslaw.com>; Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane
<ksloane@khpslaw.com>
Subject: RE: Bianco v Warner

What date can we select for this deposition subpoena? We would prefer that it occur in the next 30 days?


Howard E. King, Esq.
King, Holmes, Paterno & Soriano, LLP
1900 Avenue of the Stars, 25th Floor
Los Angeles, CA 90067
Telephone: 310-282-8999
Facsimile: 310-282-8903
Email:     hking@khpslaw.com

From: Jay Ellwanger <jellwanger@equalrights.law>
Sent: Friday, July 1, 2022 11:19 AM
To: Howard King <hking@khpslaw.com>
Cc: John Snow <JSnow@khpslaw.com>; Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane
<ksloane@khpslaw.com>
Subject: RE: Bianco v Warner


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      Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 8 of 92 Page ID #:477
Howard,

Yes, I can accept service. However, before we start depositions in this case, I think we should work together to work out
an overall schedule for depositions. This will of course include your client.

Thanks,

Jay D. Ellwanger | Partner | Ellwanger Law LLLP
8310-1 N. Capital of Texas Hwy., Ste. 190
Austin, Texas 78731
(737) 808-2262 (o) & (f)
(512) 731-7467 (m)
jellwanger@equalrights.law
www.ellwangerlaw.com
He/Him/His




From: Howard King <hking@khpslaw.com>
Sent: Thursday, June 30, 2022 1:53 PM
To: Jay Ellwanger <jellwanger@equalrights.law>
Cc: John Snow <JSnow@khpslaw.com>; Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane
<ksloane@khpslaw.com>
Subject: Bianco v Warner

Jay

Can you accept service of a deposition subpoena for your other client, Ashley Morgan Smithline, to provide
testimony in the Bianco case? We are looking at August dates for her deposition.

Thanks


Howard E. King, Esq.
King, Holmes, Paterno & Soriano, LLP
1900 Avenue of the Stars, 25th Floor
Los Angeles, CA 90067
Telephone: 310-282-8999
Facsimile: 310-282-8903
Email:     hking@khpslaw.com




                                                            3
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 9 of 92 Page ID #:478




                               EXHIBIT B
        Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 10 of 92 Page ID
                                          #:479

Jackson Trugman

From:                                 Jay Ellwanger <jellwanger@equalrights.law>
Sent:                                 Tuesday, July 12, 2022 12:43 PM
To:                                   John Snow
Cc:                                   Howard King; Jackson Trugman; Karen Sloane; Eniko Weinberger; Meghan Romere
Subject:                              RE: Bianco v. Warner


John,

We have confirmed Ms. Smithline’s availability for a video deposition on Wednesday, August 17 th. Given the time
difference between London and Los Angeles, we would ask that you notice the deposition as early as possible that
morning. If 8:00 a.m. is possible, that would be 4:00 p.m. in London.

We will accept service of the subpoena.

Thanks,

Jay D. Ellwanger | Partner | Ellwanger Law LLLP
8310-1 N. Capital of Texas Hwy., Ste. 190
Austin, Texas 78731
(737) 808-2262 (o) & (f)
(512) 731-7467 (m)
jellwanger@equalrights.law
www.ellwangerlaw.com
he/him/his




From: Jay Ellwanger
Sent: Monday, July 11, 2022 1:25 PM
To: John Snow <JSnow@khpslaw.com>; Meghan Romere <mromere@equalrights.law>
Cc: Howard King <hking@khpslaw.com>; Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane
<ksloane@khpslaw.com>; Eniko Weinberger <eweinberger@khpslaw.com>
Subject: RE: Bianco v. Warner

John,

You’ve made some incorrect assumptions on your end. As I said, I’ll revert to you with dates of availability as soon as
possible.

Thanks,

Jay D. Ellwanger | Partner | Ellwanger Law LLLP
8310-1 N. Capital of Texas Hwy., Ste. 190
Austin, Texas 78731
(737) 808-2262 (o) & (f)

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Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 11 of 92 Page ID
                                  #:480




                             EXHIBIT C
        Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 12 of 92 Page ID
                                          #:481

Jackson Trugman

From:                                    Eniko Weinberger
Sent:                                    Tuesday, July 12, 2022 5:44 PM
To:                                      jellwanger@equalrights.law
Cc:                                      Howard King; Stephen D. Rothschild; John Snow; Jackson Trugman; Karen Sloane
Subject:                                 Esme Bianco vs. Brian Warner et al. (3310.090)
Attachments:                             ASHLEY LINDSEY MORGAN SMITHLINE SUBPOENA.pdf; Notice of the Videotaped
                                         Deposition of Third-Party Ashley Lindsey Morgan Smithline, 2022.07.12.pdf


Dear Mr. Ellwanger,

Please see attached for service:

    1. Notice of the videotaped deposition of third-party Ashley Lindsey Morgan Smithline
    2. Subpoena to Testify at a Deposition in a Civil Action




Eniko Weinberger | EWeinberger@khpslaw.com
Secretary to
John G. Snow, Esq.
Jackson S. Trugman, Esq.
King, Holmes, Paterno & Soriano, LLP
1900 Ave of the Stars, 25th Floor, Los Angeles, CA 90067
direct: 310.282.8956 | fax: 310.282.8903
www.khpslaw.com




                                                                 1
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 13 of 92 Page ID
                                  #:482
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 14 of 92 Page ID
                                  #:483
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 15 of 92 Page ID
                                  #:484
         Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 16 of 92 Page ID
                                           #:485



                 1                                         PROOF OF SERVICE

                 2                                   Esme Bianco vs Brian Warner
                                                  Case No. : 2:21-cv-03677 FLA (MARx)
                 3
                     STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                 4
                           At the time of service, I was over 18 years of age and not a party to this action. I am
                 5 employed in the County of Los Angeles, State of California. My business address is 1900 Avenue
                   of the Stars, Twenty-Fifth Floor, Los Angeles, CA 90067-4506.
                 6
                           On July 12, 2022, I served true copies of the following document(s) described as
                 7 SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION on the interested
                   parties in this action as follows:
                 8
                   ASHLEY LINDSAY MORGAN SMITHLINE
                 9 c/o Jay D. Ellwanger, Esq.
                   ELLWANGER LAW LLP
                10 8310-1 N. Capital of Texas Highway, Ste 190
                   Austin, Texas 78731
                11 Tel: (737) 808-2260
                   Facsimile: (737) 808-2262
                12 Email: jellwanger@equalrights.law

                13        BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of the
                   document(s) to be sent from e-mail address Eweinberger@khpslaw.com to the persons at the e-
                14 mail addresses listed in the Service List.

                15          I declare under penalty of perjury under the laws of the State of California that the
                     foregoing is true and correct.
                16
                            Executed on July 12, 2022, at Los Angeles, California.
                17

                18
                                                                             /s/ Eniko Weinberger
                19                                                     Eniko Weinberger
                20

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K NG, HOLMES,
 PATERNO &
SORIANO, LLP
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 17 of 92 Page ID
                                  #:486



  1 KING, HOLMES, PATERNO & SORIANO, LLP
    HOWARD E. KING, ESQ., STATE BAR NO. 77012
  2 JOHN G. SNOW, ESQ., STATE BAR NO. 280790
    JSNOW@KHPSLAW.COM
  3 JACKSON S. TRUGMAN, ESQ., STATE BAR NO. 295145
    JTRUGMAN@KHPSLAW.COM
  4 1900 AVENUE OF THE STARS, TWENTY-FIFTH FLOOR
    LOS ANGELES, CALIFORNIA 90067-4506
    T
  5 ELEPHONE: (310) 282-8989
    FACSIMILE: (310) 282-8903
  6
    Attorneys for Defendants BRIAN
  7 WARNER AND MARILYN MANSON
    RECORDS, INC.
  8
  9                            UNITED STATES DISTRICT COURT
 10           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 11
 12 ESMÉ BIANCO,                                CASE NO. 2:21-cv-03677-FLA-MAR
 13               Plaintiff,
                                                NOTICE OF THE VIDEOTAPED
 14         vs.                                 DEPOSITION OF THIRD-PARTY
                                                ASHLEY LINDSEY MORGAN
 15 BRIAN WARNER a/k/a MARILYN                  SMITHLINE
    MANSON, individually, MARILYN
 16 MANSON RECORDS, INC.,                       Date: August 17, 2022
                                                Time: 8:00 a.m. (PST)
 17               Defendants.                   Place: Via Video Conference
 18                                             Judge: Hon. Fernando L. Aenlle-Rocha
 19                                             Action Commenced: April 30, 2021
 20
 21         TO ALL PARTIES AND THEIR COUNSEL OF RECORD HEREIN:
 22         PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure
 23 30, Defendants will take the deposition of third-party Ashley Lindsey Morgan
 24 Smithline on Wednesday, August 17, 2022 at 8:00 a.m. (PST). Pursuant to the
 25 agreement of the parties, the deposition will be held via video conference,
 26 coordinated by Veritext Legal Solutions. The information to connect to the video
 27 conference will be provided prior to the date of deposition.
 28 / / /
         Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 18 of 92 Page ID
                                           #:487



                1        The deposition, if not completed on the date specified, will continue from
                2 day-to-day thereafter until completed, weekends and holidays excluded. The
                3 deposition will be taken before a certified shorthand reporter or other officer who is
                4 authorized by law to administer oaths and take testimony pursuant to Rule 28(a) of
                5 the Federal Rules of Civil Procedure and will be recorded stenographically and by
                6 videotape.
                7        Please contact the noticing attorney at least five (5) calendar days prior to the
                8 deposition to advise that it is your desire to appear via remote means so that the
                9 necessary credentials, call-in numbers, email address, services, testing and
            10 information, if necessary, can be arranged and provided to you prior to the
            11 proceedings(s).
            12           PLEASE TAKE FURTHER NOTICE that the testimony at said deposition
            13 will also be recorded by videotape. Defendants reserves the right to use the
            14 videotape recording of this deposition at the time of trial or other proceeding.
            15           PLEASE TAKE FURTHER NOTICE that Defendants reserves the right to
            16 conduct this deposition utilizing a paperless exhibit display process called Exhibit
            17 Share provided and supported by Veritext Legal Solutions, or a similar exhibit-
            18 display software. The parties are advised that one paper set of exhibits will be
            19 utilized at the deposition by the court reporter.
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K NG, HOLMES,
 PATERNO &
SORIANO, LLP                                                  2
         Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 19 of 92 Page ID
                                           #:488



                1        Attached hereto as Exhibit A is a true and correct copy of the Subpoena to
                2 Testify at a Deposition in a Civil Action served on Ashley Lindsey Morgan
                3 Smithline and compelling the Witness’s attendance at the deposition.
                4
                5 DATED:       July 12, 2022          KING, HOLMES, PATERNO &
                                                      SORIANO, LLP
                6
                7
                8                                     By:        /s/ Howard E. King
                9                                                      HOWARD E. KING
            10                                        Attorneys for Defendants BRIAN WARNER
                                                      AND MARILYN MANSON RECORDS, INC.
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K NG, HOLMES,
 PATERNO &
SORIANO, LLP                                                3
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 20 of 92 Page ID
                                  #:489




                            EXHIBIT A
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 21 of 92 Page ID
                                  #:490
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 22 of 92 Page ID
                                  #:491
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 23 of 92 Page ID
                                  #:492
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 24 of 92 Page ID
                                  #:493



  1                                 CERTIFICATE OF SERVICE
  2                   Esmé Bianco vs. Brian Warner a/k/a Marilyn Manson, et al.
                                 Case No. 2:21-cv-03677-FLA-MAR
  3
      STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
  4
  5             At the time of service, I was over 18 years of age and not a party to this
  6 action. I am employed in the County of Los Angeles, State of California. My
  7 business address is 1900 Avenue of the Stars, Twenty-Fifth Floor, Los Angeles, CA
  8 90067-4506.
  9             On July 12, 2022, I served true copies of the following document(s) described
 10 as NOTICE OF THE VIDEOTAPED DEPOSITION OF ASHLEY LINDSEY
 11 MORGAN SMITHLINE on the interested parties in this action as follows:
 12                                  SEE ATTACHED SERVICE LIST
 13             BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of
 14 the document(s) to be sent from e-mail address eweinberger@khpslaw.com to the
 15 persons at the e-mail addresses listed in the Service List.
 16             Executed on July 12, 2022, at Los Angeles, California.
 17
 18                                                        /s/ Eniko Weinberger
 19                                                  Eniko Weinberger

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      3310.090/1834356.1
         Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 25 of 92 Page ID
                                           #:494



                1                                       SERVICE LIST
                                    Esmé Bianco vs. Brian Warner a/k/a Marilyn Manson, et al.
                2                              Case No. 2:21-cv-03677-FLA-MAR
                3 Jay D. Ellwanger, Esq.                       Attorney for Plaintiff
                  ELLWANGER LAW LLP                            Esmé Bianco
                4 7310-1  N. Capital of Texas Highway, Ste 190
                  Austin, Texas 78731
                5 Tel: (737) 808-2260
                  Facsimile: (737) 808-2262
                6 Email: jellwanger@equalrights.law
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K NG, HOLMES,
 PATERNO &
SORIANO, LLP

                    3310.090/1834356.1                         2
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 26 of 92 Page ID
                                  #:495




                             EXHIBIT D
         Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 27 of 92 Page ID
                                           #:496

Jackson Trugman

From:                                 Jay Ellwanger <jellwanger@equalrights.law>
Sent:                                 Tuesday, August 16, 2022 2:15 PM
To:                                   Howard King
Cc:                                   John Snow; Meghan Romere; Jackson Trugman; Karen Sloane; Docketing
Subject:                              RE: Bianco v. Warner


Howard,

Pursuant to our conversation, Ms. Smithline will not be able to attend the deposition you have subpoenaed for
tomorrow due to medical reasons. We appreciate your agreement to not require that we file a Motion for Protection to
excuse her attendance. We have placed a tentative hold for two weeks from today (8/30) to conduct the deposition if
she is medically able to do so at that point.

Sincerely,

Jay D. Ellwanger | Partner | Ellwanger Law LLLP
8310-1 N. Capital of Texas Hwy., Ste. 190
Austin, Texas 78731
(737) 808-2262 (o) & (f)
(512) 731-7467 (m)
jellwanger@equalrights.law
www.ellwangerlaw.com
He/Him/His




From: Howard King <hking@khpslaw.com>
Sent: Tuesday, August 16, 2022 3:20 PM
To: Jay Ellwanger <jellwanger@equalrights.law>
Cc: John Snow <JSnow@khpslaw.com>; Meghan Romere <mromere@equalrights.law>; Jackson Trugman
<jtrugman@khpslaw.com>; Karen Sloane <ksloane@khpslaw.com>
Subject: Re: Bianco v. Warner

Office

Howard E. King, Esq.
King, Holmes, Paterno & Soriano
1900 Avenue of the Stars
25th Floor
Los Angeles, California 90067
310 282 8999

On Aug 16, 2022, at 1:19 PM, Jay Ellwanger <jellwanger@equalrights.law> wrote:
                                                             1
        Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 28 of 92 Page ID
                                          #:497

Okay, I can call in ten. Office or cell?

Jay D. Ellwanger | Partner | Ellwanger Law LLLP
8310-1 N. Capital of Texas Hwy., Ste. 190
Austin, Texas 78731
(737) 808-2262 (o) & (f)
(512) 731-7467 (m)
jellwanger@equalrights.law
www.ellwangerlaw.com
He/Him/His
<image001.png>




From: Howard King <hking@khpslaw.com>
Sent: Tuesday, August 16, 2022 3:10 PM
To: Jay Ellwanger <jellwanger@equalrights.law>; John Snow <JSnow@khpslaw.com>; Meghan Romere
<mromere@equalrights.law>
Cc: Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane <ksloane@khpslaw.com>
Subject: RE: Bianco v. Warner

You can call me now if you like


Howard King
King, Holmes, Paterno & Soriano, LLP

From: Jay Ellwanger <jellwanger@equalrights.law>
Sent: Tuesday, August 16, 2022 1:08 PM
To: John Snow <JSnow@khpslaw.com>; Meghan Romere <mromere@equalrights.law>
Cc: Howard King <hking@khpslaw.com>; Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane
<ksloane@khpslaw.com>
Subject: RE: Bianco v. Warner

John,

Do you have time for a call? Say in the next 1-2 hours? It is somewhat urgent.

Thanks,

Jay D. Ellwanger | Partner | Ellwanger Law LLLP
8310-1 N. Capital of Texas Hwy., Ste. 190
Austin, Texas 78731
(737) 808-2262 (o) & (f)
(512) 731-7467 (m)
jellwanger@equalrights.law
www.ellwangerlaw.com
He/Him/His
<image001.png>



                                                           2
        Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 29 of 92 Page ID
                                          #:498
From: John Snow <JSnow@khpslaw.com>
Sent: Wednesday, August 10, 2022 12:48 PM
To: Jay Ellwanger <jellwanger@equalrights.law>; Meghan Romere <mromere@equalrights.law>
Cc: Howard King <hking@khpslaw.com>; Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane
<ksloane@khpslaw.com>
Subject: Bianco v. Warner

Jay,

Can you please let us know when you will be producing Ms. Bianco’s communications with Ms. Smithline? To avoid any
disputes and the need to reopen Ms. Smithline’s deposition, we request that those communications and the documents
requested directly from Ms. Smithline be produced no later than 48 hours before the deposition. See All Star Seed v.
Nationwide Agribusiness Ins. Co., 2013 WL 1882260, at *6 (S.D. Cal. May 3, 2013) (finding good cause to reopen
depositions to question witnesses about belatedly produced documents).

Thanks,
John

John G. Snow, Esq. | JSnow@khpslaw.com
King, Holmes, Paterno & Soriano, LLP
1900 Ave of the Stars, 25th Floor, Los Angeles, CA 90067
direct: 310.282.8947 | fax: 310.282.8903
www.khpslaw.com




                                                           3
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 30 of 92 Page ID
                                  #:499




                             EXHIBIT E
      Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 31 of 92 Page ID
                                        #:500

Jackson Trugman

From:                            Howard King
Sent:                            Tuesday, August 16, 2022 2:28 PM
To:                              Jay Ellwanger
Cc:                              John Snow; Jackson Trugman; Karen Sloane; Dina Webb
Subject:                         Bianco v Warner



Jay

This confirms our conversation regarding the deposition of your other client, Ashley Lindsay Morgan Smithline,
duly set for tomorrow. Based on your representation that she is unable to testify tomorrow due to emergency
psychiatric issues and on your agreements set forth below, we have rescheduled the deposition for August 30,
2022 at a time to be determined based on the witness’ location.

You have promised to provide us, before August 30, with a written report from her treating professional
confirming that Ms. Smithline was medically unable to appear tomorrow and setting forth any further
purported restrictions (including the basis therefore) that might affect her ability to sit for deposition on
August 30.

You also promised to complete a full document production today in response to both the Smithline subpoena
in the Bianco case and the document production request to Bianco.

You have taken Lindsay Usich’s deposition off calendar.

You will bear any court reporter/videographer costs incurred due to the cancellation.




Howard E. King, Esq.
King, Holmes, Paterno & Soriano, LLP
1900 Avenue of the Stars, 25th Floor
Los Angeles, CA 90067
Telephone: 310-282-8999
Facsimile: 310-282-8903
Email: hking@khpslaw.com




                                                        1
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 32 of 92 Page ID
                                  #:501




                             EXHIBIT F
      Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 33 of 92 Page ID
                                        #:502

Jackson Trugman

From:                            Adrian Cabello <acabello@equalrights.law>
Sent:                            Tuesday, August 16, 2022 8:00 PM
To:                              Jackson Trugman; Howard King; John Snow; Karen Sloane; Dina Webb
Cc:                              Jay Ellwanger; Meghan Romere
Subject:                         RE: Bianco v. Warner- Plaintiff's Confidential Supplemental Production 8.16.2022


Counsel,

Attached please find Plaintiff’s confidential supplemental production, labeled BIANCO_014049-014124.

The documents can be accessed via this secure link: https://spaces.hightail.com/space/M490RYxJt0

Thank you,

Adrian Cabello | Paralegal | Ellwanger Law LLLP
400 S Zang Blvd, Suite 600
Dallas, Texas 75208
(737) 808-2260
acabello@equalrights.law
www.ellwangerlaw.com
he/him/his



From: Adrian Cabello
Sent: Tuesday, August 16, 2022 6:07 PM
To: Jackson Trugman <jtrugman@khpslaw.com>; Howard King <hking@khpslaw.com>; John Snow
<JSnow@khpslaw.com>; Karen Sloane <ksloane@khpslaw.com>; Dina Webb <dwebb@khpslaw.com>
Cc: Jay Ellwanger <jellwanger@equalrights.law>; Meghan Romere <mromere@equalrights.law>
Subject: Bianco v. Warner- Plaintiff's Confidential Supplemental Production 8.16.2022

Counsel,

Please find Plaintiff’s confidential supplemental production, bearing bates label BIANCO_001103-014048.

The documents can be accessed via this secure link: https://themcsgroup.sharefile.com/d-
sc2c6694e3e8849b28a0dca5b2b30c868

The password to access the files is: wCx/2nx[s2{-qT"#

Thank you,

Adrian Cabello | Paralegal | Ellwanger Law LLLP
400 S Zang Blvd, Suite 600
Dallas, Texas 75208
(737) 808-2260
acabello@equalrights.law
www.ellwangerlaw.com
he/him/his
                                                           1
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 34 of 92 Page ID
                                  #:503




                             EXHIBIT G
                    Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 35 of 92 Page ID
                                                      #:504

                                                                    Privilege Log
Bates No.       Type of Document   Author             Recipient               Date          Subject          Action Taken   Privilege Asserted
                                                                                                                            Attorney/Client Privilege,
                                                                                            Attorney                        Common Interest Privilege,
BIANCO_014053   Direct Message     Esme Bianco        Ashley Smithline          3/5/2021                     Redacted
                                                                                            communications                  and/or Joint Defense
                                                                                                                            Privilege
                                                                                                                            Attorney/Client Privilege,
                                                                                            Attorney                        Common Interest Privilege,
BIANCO_014054   Direct Message     Ashley Smithline   Esme Bianco               3/6/2021                     Redacted
                                                                                            communications                  and/or Joint Defense
                                                                                                                            Privilege
                                                                                                                            Attorney/Client Privilege,
                                                                                            Attorney                        Common Interest Privilege,
BIANCO_014057   Direct Message     Ashley Smithline   Esme Bianco               3/22/2021                    Redacted
                                                                                            communications                  and/or Joint Defense
                                                                                                                            Privilege
                                                                                                                            Attorney/Client Privilege,
                                                                                            Attorney                        Common Interest Privilege,
BIANCO_014061   Direct Message     Esme Bianco        Ashley Smithline          5/5/2021                     Redacted
                                                                                            communications                  and/or Joint Defense
                                                                                                                            Privilege
                                                                                                                            Attorney/Client Privilege,
                                                                                            Attorney                        Common Interest Privilege,
BIANCO_014112   Direct Message     Esme Bianco        Ashley Smithline          1/14/2022                    Redacted
                                                                                            communications                  and/or Joint Defense
                                                                                                                            Privilege
                                                                                                                            Attorney/Client Privilege,
                                                                                            Attorney                        Common Interest Privilege,
BIANCO_014114   Direct Message     Ashley Smithline   Esme Bianco               1/15/2022                    Redacted
                                                                                            communications                  and/or Joint Defense
                                                                                                                            Privilege
                                                                                                                            Attorney/Client Privilege,
                                                                                            Attorney                        Common Interest Privilege,
BIANCO_014115   Direct Message     Ashley Smithline   Esme Bianco               1/15/2022                    Redacted
                                                                                            communications                  and/or Joint Defense
                                                                                                                            Privilege
                                                                                                                            Attorney/Client Privilege,
                                                                                            Attorney                        Common Interest Privilege,
BIANCO_014116   Direct Message     Ashley Smithline   Esme Bianco               1/15/2022                    Redacted
                                                                                            communications                  and/or Joint Defense
                                                                                                                            Privilege
                                                                                                                            Attorney/Client Privilege,
                                                                                            Attorney                        Common Interest Privilege,
BIANCO_014117   Direct Message     Ashley Smithline   Esme Bianco               1/15/2022                    Redacted
                                                                                            communications                  and/or Joint Defense
                                                                                                                            Privilege
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 36 of 92 Page ID
                                  #:505




                             EXHIBIT H
       Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 37 of 92 Page ID
                                         #:506

Jackson Trugman

From:                                 Jay Ellwanger <jellwanger@equalrights.law>
Sent:                                 Thursday, August 18, 2022 3:52 PM
To:                                   Howard King
Cc:                                   John Snow; Jackson Trugman; Karen Sloane; Dina Webb
Subject:                              Re: Bianco v Warner


I already told you she’s in Los Angeles, as am I for about ten more minutes. If you have information to the contrary,
then share it. If your “unverified source” is Instagram, then you might not be totally familiar with how that app works.

Get Outlook for iOS

From: Howard King <hking@khpslaw.com>
Sent: Thursday, August 18, 2022 1:35:00 PM
To: Jay Ellwanger <jellwanger@equalrights.law>
Cc: John Snow <JSnow@khpslaw.com>; Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane
<ksloane@khpslaw.com>; Dina Webb <dwebb@khpslaw.com>
Subject: RE: Bianco v Warner

You do not know on which continent your client currently exists?


Howard King
King, Holmes, Paterno & Soriano, LLP

From: Jay Ellwanger <jellwanger@equalrights.law>
Sent: Thursday, August 18, 2022 1:30 PM
To: Howard King <hking@khpslaw.com>
Cc: John Snow <JSnow@khpslaw.com>; Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane
<ksloane@khpslaw.com>; Dina Webb <dwebb@khpslaw.com>
Subject: RE: Bianco v Warner

Howard,

BIANCO 14049-14124 plus the privilege log were responsive to the subpoena. Sorry if that wasn’t made clear in the
production e-mail.

I have no information that your unverified sources are correct.

Jay D. Ellwanger | Partner | Ellwanger Law LLLP
8310-1 N. Capital of Texas Hwy., Ste. 190
Austin, Texas 78731
(737) 808-2262 (o) & (f)
(512) 731-7467 (m)
jellwanger@equalrights.law
www.ellwangerlaw.com
He/Him/His




                                                             1
      Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 38 of 92 Page ID
                                        #:507




From: Howard King <hking@khpslaw.com>
Sent: Thursday, August 18, 2022 11:56 AM
To: Jay Ellwanger <jellwanger@equalrights.law>
Cc: John Snow <JSnow@khpslaw.com>; Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane
<ksloane@khpslaw.com>; Dina Webb <dwebb@khpslaw.com>
Subject: RE: Bianco v Warner

Jay

Will you be producing the promised Smithline documents today? They were due yesterday.

On a different front, you represented that Ms. Smithline could not appear yesterday as she had traveled to Los
Angeles for emergency psychiatric treatment. Unverified sources have informed us that Ms. Smithline remains
in London. I realize the limitations on information you might be getting from your client, but are you certain
that she is in Los Angeles?


Howard King
King, Holmes, Paterno & Soriano, LLP

From: Howard King
Sent: Wednesday, August 17, 2022 12:50 PM
To: Jay Ellwanger <jellwanger@equalrights.law>
Cc: John Snow <JSnow@khpslaw.com>; Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane
<ksloane@khpslaw.com>; Dina Webb <dwebb@khpslaw.com>
Subject: RE: Bianco v Warner

Jay

I do not believe we received the promised full Smithline document production in response to the subpoena.


Howard King
King, Holmes, Paterno & Soriano, LLP

From: Howard King <hking@khpslaw.com>
Sent: Tuesday, August 16, 2022 2:28 PM
To: Jay Ellwanger <jellwanger@equalrights.law>
Cc: John Snow <JSnow@khpslaw.com>; Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane
<ksloane@khpslaw.com>; Dina Webb <dwebb@khpslaw.com>
Subject: Bianco v Warner

                                                      2
      Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 39 of 92 Page ID
                                        #:508

Jay

This confirms our conversation regarding the deposition of your other client, Ashley Lindsay Morgan Smithline,
duly set for tomorrow. Based on your representation that she is unable to testify tomorrow due to emergency
psychiatric issues and on your agreements set forth below, we have rescheduled the deposition for August 30,
2022 at a time to be determined based on the witness’ location.

You have promised to provide us, before August 30, with a written report from her treating professional
confirming that Ms. Smithline was medically unable to appear tomorrow and setting forth any further
purported restrictions (including the basis therefore) that might affect her ability to sit for deposition on
August 30.

You also promised to complete a full document production today in response to both the Smithline subpoena
in the Bianco case and the document production request to Bianco.

You have taken Lindsay Usich’s deposition off calendar.

You will bear any court reporter/videographer costs incurred due to the cancellation.




Howard E. King, Esq.
King, Holmes, Paterno & Soriano, LLP
1900 Avenue of the Stars, 25th Floor
Los Angeles, CA 90067
Telephone: 310-282-8999
Facsimile: 310-282-8903
Email: hking@khpslaw.com




                                                        3
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 40 of 92 Page ID
                                  #:509




                             EXHIBIT I
       Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 41 of 92 Page ID
                                         #:510

Jackson Trugman

From:                              Jackson Trugman
Sent:                              Thursday, August 25, 2022 4:25 PM
To:                                'Jay Ellwanger'; Howard King; 'Meghan Romere'
Cc:                                John Snow; Karen Sloane; Dina Webb
Subject:                           RE: Bianco v Warner

Follow Up Flag:                    Follow up
Flag Status:                       Completed


Jay and Meghan:

Please let me know today whether by tomorrow Ms. Smithline will be producing the documents requested below, that
were due last week. If she won’t be, please provide times tomorrow you can meet and confer as required by LR 37 and
MJ Rocconi’s rules.

If we don’t hear from you, we intend to submit the following email to chambers requesting a pre- motion teleconference
per MJ Rocconi’s requirements. Please provide Ms. Smithline’s position for part 3, and confirm dates for part 1.

    (1) Proposed times – [Defendants propose September 1 at 10 am, September 2 at 10 am, or September 6 at 10 am.]
    (2) Neutral statement of the dispute – Defendants contend that third party Ashley Smithline has not complied with
        a subpoena directed to her and has not established that redacted documents are privileged.
    (3) One sentence describing each party’s position –
            a. Defendants’ position – Third party Ashley Smithline (who also is plaintiff in a similar case in CD Cal.) has
                not complied with a subpoena in this action because she produced a mere four documents (two of
                which are not even hers), which themselves show she is withholding other responsive documents, and
                she redacted documents between non-lawyers either without explanation or on the supposed grounds
                they are privileged; she also asked to postpone her deposition the day before, and has indicated she will
                not appear at the rescheduled date on August 30.
            b. Smithline’s position –

Thank you.

Jackson S. Trugman, Esq. | JTrugman@khpslaw.com
King, Holmes, Paterno & Soriano, LLP
direct: 310.282.8955


From: Jackson Trugman
Sent: Wednesday, August 24, 2022 1:50 PM
To: Jay Ellwanger <jellwanger@equalrights.law>; Howard King <hking@khpslaw.com>; Meghan Romere
<mromere@equalrights.law>
Cc: John Snow <JSnow@khpslaw.com>; Karen Sloane <ksloane@khpslaw.com>; Dina Webb <dwebb@khpslaw.com>
Subject: RE: Bianco v Warner

Jay and Meghan,

We asked you a number of times whether we got a complete production from Ms. Smithline in response to the
subpoena. You provided the evasive answer that “BIANCO 14049-14124 plus the privilege log were responsive to the
subpoena,” but you avoided confirming that the production was complete. It’s not.

                                                             1
       Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 42 of 92 Page ID
                                         #:511

First, the production comprises only four message threads, two of which appear to come from Ms. Bianco, not Ms.
Smithline. There is (1) an Instagram thread between Ms. Smithline and Ms. Bianco, from Ms. Bianco’s account
(BIANCO_014049-94); (2) a message thread from an unknown app (perhaps Signal) between Ms. Smithline and Ms.
Bianco, from Ms. Bianco’s account (BIANCO_014095-105); (3) a group message from an unknown app (perhaps Signal)
between Ms. Smithline and Ms. Bianco (BIANCO_014106-20), and (4) a group message from an unknown app (perhaps
Signal) among Ms. Smithline and Ms. Bianco and others (BIANCO_014121024). She produced no emails or text
messages (SMS, iMessage, etc.).

Ms. Smithline’s failure to provide a complete production is confirmed by the documents she did produce. As noted
above, she produced only two brief message threads from her own accounts, when there appear to be more, including
those produced from Ms. Bianco’s accounts. In fact, the messages from Ms. Bianco’s accounts expressly reference other
responsive communications that were not produced. For example, on May 5, 2021, Ms. Bianco states “I sent you a
message on signal btw,” to which Ms. Smithline responds “i’ll signal.” BIANCO_014062; see also BIANCO_014053. Yet
Ms. Smithline produced no Signal chats with Ms. Bianco from May 5, 2021. At the same page, Ms. Smithline tells Ms.
Bianco, “you can text me,” yet Ms. Smithline produced no text messages.

Further, the production contains no communications with Evan Rachel Wood or Ashley Gore aka Illma Gore, even
though Ms. Smithline was communicating with both. See e.g., BIANCO_014118. And the communications you did
produce were out of order and missing pages/messages. There are missing pages (1) before BIANCO_014061, (2) before
BIANCO_014095, (3) after BIANCO_014101, and (4) before BIANCO_14102.

We need all responsive documents produced no later than this Friday—they were due on August 17. Ms. Smithline did
not serve any objections, and she did not move for a protective order. There is no basis to withhold. If you contend that
the production is complete as is, we need you to state this clearly in writing (by Friday) so we can discuss with Ms.
Smithline at her deposition and seek sanctions as appropriate.

Second, you have not substantiated the redactions to communications between Ms. Smithline and Ms. Bianco, and they
must be produced unredacted. For the redactions you logged, you describe them as “attorney communication.” But
there is no attorney on the communication, and there are no other communications on the log involving counsel. You
also describe redactions as potentially covered by a so-called “joint defense privilege,” but it is unclear how that could
apply in this context—Smithline and Bianco are plaintiffs in separate proceedings. This assertion also fails because “the
joint defense privilege . . . presupposes the existence of an otherwise valid underlying privilege, such as the attorney-
client privilege, which has not been shown to be present.” In re Syncor ERISA Litig., 229 F.R.D. 636, 645 (C.D. Cal. 2005).

There are also redactions for which no information has been provided in the privilege log (BIANCO_14055,
BIANCO_14062). Since no basis has been provided for the redactions, they must be produced unredacted. See FRCP
45(e)(2)(A).

Confirm you will provide unredacted copies of each item on the privilege log, as well as the unlogged redacted
documents, by Friday of this week.

Separate from the glaring issues with Ms. Smithline’s documents, y ou have not confirmed that she will appear on August
30 as agreed. Please confirm.

Regards,



Jackson S. Trugman, Esq. | JTrugman@khpslaw.com
King, Holmes, Paterno & Soriano, LLP
direct: 310.282.8955

                                                             2
       Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 43 of 92 Page ID
                                         #:512
From: Jay Ellwanger <jellwanger@equalrights.law>
Sent: Thursday, August 18, 2022 3:52 PM
To: Howard King <hking@khpslaw.com>
Cc: John Snow <JSnow@khpslaw.com>; Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane
<ksloane@khpslaw.com>; Dina Webb <dwebb@khpslaw.com>
Subject: Re: Bianco v Warner

I already told you she’s in Los Angeles, as am I for about ten more minutes. If you have information to the contrary,
then share it. If your “unverified source” is Instagram, then you might not be totally familiar with how that app works.

Get Outlook for iOS

From: Howard King <hking@khpslaw.com>
Sent: Thursday, August 18, 2022 1:35:00 PM
To: Jay Ellwanger <jellwanger@equalrights.law>
Cc: John Snow <JSnow@khpslaw.com>; Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane
<ksloane@khpslaw.com>; Dina Webb <dwebb@khpslaw.com>
Subject: RE: Bianco v Warner

You do not know on which continent your client currently exists?


Howard King
King, Holmes, Paterno & Soriano, LLP

From: Jay Ellwanger <jellwanger@equalrights.law>
Sent: Thursday, August 18, 2022 1:30 PM
To: Howard King <hking@khpslaw.com>
Cc: John Snow <JSnow@khpslaw.com>; Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane
<ksloane@khpslaw.com>; Dina Webb <dwebb@khpslaw.com>
Subject: RE: Bianco v Warner

Howard,

BIANCO 14049-14124 plus the privilege log were responsive to the subpoena. Sorry if that wasn’t made clear in the
production e-mail.

I have no information that your unverified sources are correct.

Jay D. Ellwanger | Partner | Ellwanger Law LLLP
8310-1 N. Capital of Texas Hwy., Ste. 190
Austin, Texas 78731
(737) 808-2262 (o) & (f)
(512) 731-7467 (m)
jellwanger@equalrights.law
www.ellwangerlaw.com
He/Him/His




                                                            3
      Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 44 of 92 Page ID
                                        #:513




From: Howard King <hking@khpslaw.com>
Sent: Thursday, August 18, 2022 11:56 AM
To: Jay Ellwanger <jellwanger@equalrights.law>
Cc: John Snow <JSnow@khpslaw.com>; Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane
<ksloane@khpslaw.com>; Dina Webb <dwebb@khpslaw.com>
Subject: RE: Bianco v Warner

Jay

Will you be producing the promised Smithline documents today? They were due yesterday.

On a different front, you represented that Ms. Smithline could not appear yesterday as she had traveled to Los
Angeles for emergency psychiatric treatment. Unverified sources have informed us that Ms. Smithline remains
in London. I realize the limitations on information you might be getting from your client, but are you certain
that she is in Los Angeles?


Howard King
King, Holmes, Paterno & Soriano, LLP

From: Howard King
Sent: Wednesday, August 17, 2022 12:50 PM
To: Jay Ellwanger <jellwanger@equalrights.law>
Cc: John Snow <JSnow@khpslaw.com>; Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane
<ksloane@khpslaw.com>; Dina Webb <dwebb@khpslaw.com>
Subject: RE: Bianco v Warner

Jay

I do not believe we received the promised full Smithline document production in response to the subpoena.


Howard King
King, Holmes, Paterno & Soriano, LLP

From: Howard King <hking@khpslaw.com>
Sent: Tuesday, August 16, 2022 2:28 PM
To: Jay Ellwanger <jellwanger@equalrights.law>
Cc: John Snow <JSnow@khpslaw.com>; Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane
<ksloane@khpslaw.com>; Dina Webb <dwebb@khpslaw.com>
Subject: Bianco v Warner

                                                      4
      Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 45 of 92 Page ID
                                        #:514

Jay

This confirms our conversation regarding the depos ition of your other client, Ashley Lindsay Morgan Smithline,
duly set for tomorrow. Based on your representation that she is unable to testify tomorrow due to emergency
psychiatric issues and on your agreements set forth below, we have rescheduled the depo sition for August 30,
2022 at a time to be determined based on the witness’ location.

You have promised to provide us, before August 30, with a written report from her treating professional
confirming that Ms. Smithline was medically unable to appear tomorrow and setting forth any further
purported restrictions (including the basis therefore) that might affect her ability to sit for deposition on
August 30.

You also promised to complete a full document production today in response to both the Smithline subpoena
in the Bianco case and the document production request to Bianco.

You have taken Lindsay Usich’s deposition off calendar.

You will bear any court reporter/videographer costs incurred due to the cancellation.




Howard E. King, Esq.
King, Holmes, Paterno & Soriano, LLP
1900 Avenue of the Stars, 25th Floor
Los Angeles, CA 90067
Telephone: 310-282-8999
Facsimile: 310-282-8903
Email: hking@khpslaw.com




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Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 46 of 92 Page ID
                                  #:515




                             EXHIBIT J
      Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 47 of 92 Page ID
                                        #:516

Jackson Trugman

From:                             Howard King
Sent:                             Friday, August 26, 2022 9:43 AM
To:                               Jay Ellwanger
Cc:                               Jackson Trugman; Karen Sloane; John Snow; Meghan Romere; Gene Williams
Subject:                          RE: Smithline deposition



Will Ms. Smithline be here in person for her deposition on Tuesday? Will her delinquent document production
be implemented today?


Howard King
King, Holmes, Paterno & Soriano, LLP

From: Jay Ellwanger <jellwanger@equalrights.law>
Sent: Thursday, August 25, 2022 5:07 PM
To: Howard King <hking@khpslaw.com>
Cc: Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane <ksloane@khpslaw.com>; John Snow
<JSnow@khpslaw.com>; Meghan Romere <mromere@equalrights.law>; Gene Williams <gfwilliams@grsm.com>
Subject: Re: Smithline deposition

And yes, Ms. Smithline does consent to my withdrawal.

Get Outlook for iOS

From: Jay Ellwanger <jellwanger@equalrights.law>
Sent: Thursday, August 25, 2022 6:47 PM
To: Howard King <hking@khpslaw.com>
Cc: Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane <ksloane@khpslaw.com>; John Snow
<JSnow@khpslaw.com>; Meghan Romere <mromere@equalrights.law>; Gene Williams <gfwilliams@grsm.com>
Subject: Re: Smithline deposition

Howard,

You know full well that I ethically can’t provide more information to you regarding this type of motion than I have
already provided. Per what evidently seems to be your request, I will tell the Court in my motion that you are opposed
to my withdrawal.

Copying Gene as your position on this issue will also be attributed to him and his firm, and he has a right to know the
course of action you are requiring that I take.

Jay

Get Outlook for iOS

From: Howard King <hking@khpslaw.com>
Sent: Thursday, August 25, 2022 6:40 PM
To: Jay Ellwanger <jellwanger@equalrights.law>
Cc: Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane <ksloane@khpslaw.com>; John Snow
                                                             1
       Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 48 of 92 Page ID
                                         #:517
<JSnow@khpslaw.com>; Meghan Romere <mromere@equalrights.law>
Subject: RE: Smithline deposition

Jay,

You haven’t given us enough information to evaluate your motion, including whether Ms. Smithline has consented to
the withdrawal. Regardless, this issue will not be resolved before Tuesday’s deposition, at which Ms. Smithline is
required to appear. Because you did not respond to my note on the start time, we will keep it at the noticed start time
of 8am PT.

Jackson Trugman has also pointed out your failure to produce documents that should have been part of the “full
production” of Smithline’s documents responsive to the subpoena that you promised would be produced last week.

Howard




Howard King
King, Holmes, Paterno & Soriano, LLP

From: Jay Ellwanger <jellwanger@equalrights.law>
Sent: Thursday, August 25, 2022 2:46 PM
To: Howard King <hking@khpslaw.com>
Cc: Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane <ksloane@khpslaw.com>; John Snow
<JSnow@khpslaw.com>; Meghan Romere <mromere@equalrights.law>
Subject: RE: Smithline deposition

Howard,

As we discussed last week, we agreed that in order to seek additional continuances of Ms. Smithline’s deposition I would
ultimately need to provide to you (and the Court) a written assessment from Ms. Smithline’s psychiatrist that she is
unable to participate in litigation due to the current status of her mental health. For reasons which I am ethically
required to keep confidential, I cannot provide this written assessment.

Accordingly, I am going to have to file a Motion to Withdraw as counsel for Ms. Smithline. Please let me know if you
oppose the Motion.

Sincerely,

Jay D. Ellwanger | Partner | Ellwanger Law LLLP
8310-1 N. Capital of Texas Hwy., Ste. 190
Austin, Texas 78731
(737) 808-2262 (o) & (f)
(512) 731-7467 (m)
jellwanger@equalrights.law
www.ellwangerlaw.com
he/him/his




                                                            2
      Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 49 of 92 Page ID
                                        #:518

From: Howard King <hking@khpslaw.com>
Sent: Thursday, August 25, 2022 1:22 PM
To: Jay Ellwanger <jellwanger@equalrights.law>
Cc: Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane <ksloane@khpslaw.com>; John Snow
<JSnow@khpslaw.com>
Subject: Smithline deposition

We set it for 8am on Tuesday on the assumption she will be in the UK. If she is here, we can set it for a later
time if you prefer. If she is here, we request that she appear in person for her deposition.


Howard E. King, Esq.
King, Holmes, Paterno & Soriano, LLP
1900 Avenue of the Stars, 25th Floor
Los Angeles, CA 90067
Telephone: 310-282-8999
Facsimile: 310-282-8903
Email: hking@khpslaw.com




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Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 50 of 92 Page ID
                                  #:519




                             EXHIBIT K
      Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 51 of 92 Page ID
                                        #:520

Jackson Trugman

From:                              Jay Ellwanger <jellwanger@equalrights.law>
Sent:                              Monday, August 29, 2022 2:49 PM
To:                                Howard King
Cc:                                Jackson Trugman; Karen Sloane; John Snow; Meghan Romere; Gene Williams
Subject:                           Re: Smithline deposition


Our position is that the filing of the Motion for Protection operates to stay compliance with the subpoena, so Ms.
Smithline will not be appearing tomorrow.

Get Outlook for iOS

From: Howard King <hking@khpslaw.com>
Sent: Monday, August 29, 2022 4:16:35 PM
To: Jay Ellwanger <jellwanger@equalrights.law>
Cc: Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane <ksloane@khpslaw.com>; John Snow
<JSnow@khpslaw.com>; Meghan Romere <mromere@equalrights.law>; Gene Williams <gfwilliams@grsm.com>
Subject: Re: Smithline deposition

You are not at all clear. If your motion for protection is not granted today, will Ms. Smithline appear for her deposition
tomorrow at 8am?

Howard E. King, Esq.
King, Holmes, Paterno & Soriano
1900 Avenue of the Stars
25th Floor
Los Angeles, California 90067
310 282 8999

On Aug 29, 2022, at 2:14 PM, Jay Ellwanger <jellwanger@equalrights.law> wrote:


Howard,

We are preparing to file a Motion for Protection to prevent tomorrow’s deposition from going forward, after first
requesting that you voluntarily reschedule the deposition to save the Court the trouble of ruling on this issue after we
already had to file a Motion to Withdraw as Ms. Smithline’s counsel. And I informed the court reporter that we would
be filing the Motion for Protection.

Could I have been any clearer?

Jay

Get Outlook for iOS

From: Howard King <hking@khpslaw.com>
Sent: Monday, August 29, 2022 4:05 PM
To: Jay Ellwanger <jellwanger@equalrights.law>
Cc: Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane <ksloane@khpslaw.com>; John Snow

                                                             1
      Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 52 of 92 Page ID
                                        #:521
<JSnow@khpslaw.com>; Meghan Romere <mromere@equalrights.law>; Gene Williams <gfwilliams@grsm.com>
Subject: Re: Smithline deposition

Jay

Is she showing up for her deposition tomorrow or not? I have not cancelled the videographer or court reporter.

Howard E. King, Esq.
King, Holmes, Paterno & Soriano
1900 Avenue of the Stars
25th Floor
Los Angeles, California 90067
310 282 8999

On Aug 29, 2022, at 11:36 AM, Jay Ellwanger <jellwanger@equalrights.law> wrote:


I just filed a motion to withdraw as her lawyer and you are asking me what the grounds are for filing a motion to move
the deposition she is scheduled for tomorrow? I’m clear on that, right? Because I absolutely will be including this
exchange in our Certificate of Conference.

Get Outlook for iOS

From: Howard King <hking@khpslaw.com>
Sent: Monday, August 29, 2022 1:30:04 PM
To: Jay Ellwanger <jellwanger@equalrights.law>
Cc: Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane <ksloane@khpslaw.com>; John Snow
<JSnow@khpslaw.com>; Meghan Romere <mromere@equalrights.law>; Gene Williams <gfwilliams@grsm.com>
Subject: RE: Smithline deposition

What are the grounds? She was supposed to appear 2 weeks ago for her duly subpoenaed deposition, an
appearance confirmed on multiple occasions by you. On the day before her appearance, you represented that
she had flown to the United States to obtain emergency psychiatric treatment and therefore could not appear.
Rather than forcing you to make a motion for protection at that time, we made a professional accommodation
to you to continue the deposition date.

You promised to nonetheless immediately complete a full document production, representing that you
already had the responsive documents in your possession. Apparently, that representation was not accurate
as the prmised production was not made.

You also promised written evidence from the treating professional of Ms. Smithline’s medical inability to have
attended the deposition. You also failed to provide that documentation.

Finally, you promised Ms. Smithline would appear for her deposition tomorrow. You have ignored multiple
questions from me seeking confirmation she will appear tomorrow for her deposition.

So, yes, we oppose and would ask that this entire email be included as part of your motion.


Howard King
King, Holmes, Paterno & Soriano, LLP
                                                           2
      Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 53 of 92 Page ID
                                        #:522

From: Jay Ellwanger <jellwanger@equalrights.law>
Sent: Monday, August 29, 2022 11:22 AM
To: Howard King <hking@khpslaw.com>
Cc: Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane <ksloane@khpslaw.com>; John Snow
<JSnow@khpslaw.com>; Meghan Romere <mromere@equalrights.law>; Gene Williams <gfwilliams@grsm.com>
Subject: Re: Smithline deposition

Howard,

Please confirm you oppose the Motion for Protection we are filing on behalf of Ashley Smithline.

Thanks,

Jay

Get Outlook for iOS

From: Howard King <hking@khpslaw.com>
Sent: Monday, August 29, 2022 11:51:20 AM
To: Jay Ellwanger <jellwanger@equalrights.law>
Cc: Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane <ksloane@khpslaw.com>; John Snow
<JSnow@khpslaw.com>; Meghan Romere <mromere@equalrights.law>; Gene Williams <gfwilliams@grsm.com>
Subject: RE: Smithline deposition

We will not be taking the delayed deposition off calendar


Howard King
King, Holmes, Paterno & Soriano, LLP

From: Jay Ellwanger <jellwanger@equalrights.law>
Sent: Monday, August 29, 2022 9:15 AM
To: Howard King <hking@khpslaw.com>
Cc: Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane <ksloane@khpslaw.com>; John Snow
<JSnow@khpslaw.com>; Meghan Romere <mromere@equalrights.law>; Gene Williams <gfwilliams@grsm.com>
Subject: RE: Smithline deposition

Howard,

As you know, I filed my Motion to Withdraw as counsel for Ms. Smithline on August 27 th. I am writing to ask your
agreement to take Ms. Smithline’s deposition in the Bianco v. Warner, et al case off tomorrow’s calendar to allow Ms.
Smithline time to secure replacement counsel. If you will not agree to do so, we will need to file a Motion for Protection
on behalf of Ms. Smithline today, since the Court has obviously not yet ruled on our Motion to Withdraw.

Please let us know by 12:00 Pacific whether you will agree to take the deposition off calendar. I cannot make a specific
representation as to when Ms. Smithline could be available to reschedule; in our Motion to Withdraw we asked the
Court for a 90 day extension of current discovery deadlines in Smithline v. Warner, et al.

Sincerely,


                                                            3
       Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 54 of 92 Page ID
                                         #:523
Jay D. Ellwanger | Partner | Ellwanger Law LLLP
8310-1 N. Capital of Texas Hwy., Ste. 190
Austin, Texas 78731
(737) 808-2262 (o) & (f)
(512) 731-7467 (m)
jellwanger@equalrights.law
www.ellwangerlaw.com
he/him/his
<image001.png>

From: Howard King <hking@khpslaw.com>
Sent: Friday, August 26, 2022 11:43 AM
To: Jay Ellwanger <jellwanger@equalrights.law>
Cc: Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane <ksloane@khpslaw.com>; John Snow
<JSnow@khpslaw.com>; Meghan Romere <mromere@equalrights.law>; Gene Williams <gfwilliams@grsm.com>
Subject: RE: Smithline deposition

Will Ms. Smithline be here in person for her deposition on Tuesday? Will her delinquent document production
be implemented today?


Howard King
King, Holmes, Paterno & Soriano, LLP

From: Jay Ellwanger <jellwanger@equalrights.law>
Sent: Thursday, August 25, 2022 5:07 PM
To: Howard King <hking@khpslaw.com>
Cc: Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane <ksloane@khpslaw.com>; John Snow
<JSnow@khpslaw.com>; Meghan Romere <mromere@equalrights.law>; Gene Williams <gfwilliams@grsm.com>
Subject: Re: Smithline deposition

And yes, Ms. Smithline does consent to my withdrawal.

Get Outlook for iOS

From: Jay Ellwanger <jellwanger@equalrights.law>
Sent: Thursday, August 25, 2022 6:47 PM
To: Howard King <hking@khpslaw.com>
Cc: Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane <ksloane@khpslaw.com>; John Snow
<JSnow@khpslaw.com>; Meghan Romere <mromere@equalrights.law>; Gene Williams <gfwilliams@grsm.com>
Subject: Re: Smithline deposition

Howard,

You know full well that I ethically can’t provide more information to you regarding this type of motion than I have
already provided. Per what evidently seems to be your request, I will tell the Court in my motion that you are opposed
to my withdrawal.

Copying Gene as your position on this issue will also be attributed to him and his firm, and he has a right to know the
course of action you are requiring that I take.

Jay
                                                             4
       Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 55 of 92 Page ID
                                         #:524

Get Outlook for iOS

From: Howard King <hking@khpslaw.com>
Sent: Thursday, August 25, 2022 6:40 PM
To: Jay Ellwanger <jellwanger@equalrights.law>
Cc: Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane <ksloane@khpslaw.com>; John Snow
<JSnow@khpslaw.com>; Meghan Romere <mromere@equalrights.law>
Subject: RE: Smithline deposition

Jay,

You haven’t given us enough information to evaluate your motion, including whether Ms. Smithline has consented to
the withdrawal. Regardless, this issue will not be resolved before Tuesday’s deposition, at which Ms. Smithline is
required to appear. Because you did not respond to my note on the start time, we will keep it at the noticed start time
of 8am PT.

Jackson Trugman has also pointed out your failure to produce documents that should have been part of the “full
production” of Smithline’s documents responsive to the subpoena that you promised would be produced last week.

Howard




Howard King
King, Holmes, Paterno & Soriano, LLP

From: Jay Ellwanger <jellwanger@equalrights.law>
Sent: Thursday, August 25, 2022 2:46 PM
To: Howard King <hking@khpslaw.com>
Cc: Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane <ksloane@khpslaw.com>; John Snow
<JSnow@khpslaw.com>; Meghan Romere <mromere@equalrights.law>
Subject: RE: Smithline deposition

Howard,

As we discussed last week, we agreed that in order to seek additional continuances of Ms. Smithline’s deposition I would
ultimately need to provide to you (and the Court) a written assessment from Ms. Smithline’s psychiatrist that she is
unable to participate in litigation due to the current status of her mental health. For reasons which I am ethically
required to keep confidential, I cannot provide this written assessment.

Accordingly, I am going to have to file a Motion to Withdraw as counsel for Ms. Smithline. Please let me know if you
oppose the Motion.

Sincerely,

Jay D. Ellwanger | Partner | Ellwanger Law LLLP
8310-1 N. Capital of Texas Hwy., Ste. 190
Austin, Texas 78731
(737) 808-2262 (o) & (f)
(512) 731-7467 (m)
jellwanger@equalrights.law

                                                            5
      Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 56 of 92 Page ID
                                        #:525
www.ellwangerlaw.com
he/him/his
<image001.png>

From: Howard King <hking@khpslaw.com>
Sent: Thursday, August 25, 2022 1:22 PM
To: Jay Ellwanger <jellwanger@equalrights.law>
Cc: Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane <ksloane@khpslaw.com>; John Snow
<JSnow@khpslaw.com>
Subject: Smithline deposition

We set it for 8am on Tuesday on the assumption she will be in the UK. If she is here, we can set it for a later
time if you prefer. If she is here, we request that she appear in person for her deposition.


Howard E. King, Esq.
King, Holmes, Paterno & Soriano, LLP
1900 Avenue of the Stars, 25th Floor
Los Angeles, CA 90067
Telephone: 310-282-8999
Facsimile: 310-282-8903
Email: hking@khpslaw.com




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Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 57 of 92 Page ID
                                  #:526




                             EXHIBIT L
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 58 of 92 Page ID
                                  #:527
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 59 of 92 Page ID
                                  #:528
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 60 of 92 Page ID
                                  #:529
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 61 of 92 Page ID
                                  #:530
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 62 of 92 Page ID
                                  #:531
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 63 of 92 Page ID
                                  #:532
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 64 of 92 Page ID
                                  #:533
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 65 of 92 Page ID
                                  #:534
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 66 of 92 Page ID
                                  #:535




                            EXHIBIT M
      Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 67 of 92 Page ID
                                        #:536

Jackson Trugman

From:                              Jay Ellwanger <jellwanger@equalrights.law>
Sent:                              Tuesday, August 30, 2022 12:13 PM
To:                                Howard King
Cc:                                Jackson Trugman; Karen Sloane; John Snow; Meghan Romere; Gene Williams
Subject:                           Re: Smithline deposition


You do not have my consent. Thank you for alerting me.

Get Outlook for iOS

From: Howard King <hking@khpslaw.com>
Sent: Tuesday, August 30, 2022 11:18:35 AM
To: Jay Ellwanger <jellwanger@equalrights.law>
Cc: Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane <ksloane@khpslaw.com>; John Snow
<JSnow@khpslaw.com>; Meghan Romere <mromere@equalrights.law>; Gene Williams <gfwilliams@grsm.com>
Subject: RE: Smithline deposition

I just got a phone call from Ashley Smithline who blurted out to me that you were fired as her lawyer in April
and have not been truthful about the reasons you failed to produce her for deposition. I told her that I could
not speak with her and that I would immediately let you know of the call, which I am doing.

Please let me know if I have your consent to speak directly to Ms. Smithline.



Howard King
King, Holmes, Paterno & Soriano, LLP

From: Jay Ellwanger <jellwanger@equalrights.law>
Sent: Monday, August 29, 2022 3:15 PM
To: Howard King <hking@khpslaw.com>
Cc: Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane <ksloane@khpslaw.com>; John Snow
<JSnow@khpslaw.com>; Meghan Romere <mromere@equalrights.law>; Gene Williams <gfwilliams@grsm.com>
Subject: Re: Smithline deposition

Hopefully within the next hour or so but I’ve already told Veritext we are filing. We are going as fast as we can.

Get Outlook for iOS

From: Howard King <hking@khpslaw.com>
Sent: Monday, August 29, 2022 3:04:58 PM
To: Jay Ellwanger <jellwanger@equalrights.law>
Cc: Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane <ksloane@khpslaw.com>; John Snow
<JSnow@khpslaw.com>; Meghan Romere <mromere@equalrights.law>; Gene Williams <gfwilliams@grsm.com>
Subject: RE: Smithline deposition



                                                             1
       Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 68 of 92 Page ID
                                                    #:537
When will that filing occur? We have less than an hour to cancel the court reporter, etc without incurring
costs.


Howard King
King, Holmes, Paterno & Soriano, LLP

From: Jay Ellwanger <jellwanger@equalrights.law>
Sent: Monday, August 29, 2022 2:49 PM
To: Howard King <hking@khpslaw.com>
Cc: Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane <ksloane@khpslaw.com>; John Snow
<JSnow@khpslaw.com>; Meghan Romere <mromere@equalrights.law>; Gene Williams <gfwilliams@grsm.com>
Subject: Re: Smithline deposition

Our position is that the filing of the Motion for Protection operates to stay compliance with the subpoena, so Ms.
Smithline will not be appearing tomorrow.

Get Outlook for iOS

From: Howard King <hking@khpslaw.com>
Sent: Monday, August 29, 2022 4:16:35 PM
To: Jay Ellwanger <jellwanger@equalrights.law>
Cc: Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane <ksloane@khpslaw.com>; John Snow
<JSnow@khpslaw.com>; Meghan Romere <mromere@equalrights.law>; Gene Williams <gfwilliams@grsm.com>
Subject: Re: Smithline deposition

You are not at all clear. If your motion for protection is not granted today, will Ms. Smithline appear for her deposition
tomorrow at 8am?

Howard E. King, Esq.
King, Holmes, Paterno & Soriano
1900 Avenue of the Stars
25th Floor
Los Angeles, California 90067
310 282 8999

On Aug 29, 2022, at 2:14 PM, Jay Ellwanger <jellwanger@equalrights.law> wrote:


Howard,

We are preparing to file a Motion for Protection to prevent tomorrow’s deposition from going forward, after first
requesting that you voluntarily reschedule the deposition to save the Court the trouble of ruling on this issue after we
already had to file a Motion to Withdraw as Ms. Smithline’s counsel. And I informed the court reporter that we would
be filing the Motion for Protection.

Could I have been any clearer?

Jay

Get Outlook for iOS

                                                             2
      Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 69 of 92 Page ID
                                        #:538
From: Howard King <hking@khpslaw.com>
Sent: Monday, August 29, 2022 4:05 PM
To: Jay Ellwanger <jellwanger@equalrights.law>
Cc: Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane <ksloane@khpslaw.com>; John Snow
<JSnow@khpslaw.com>; Meghan Romere <mromere@equalrights.law>; Gene Williams <gfwilliams@grsm.com>
Subject: Re: Smithline deposition

Jay

Is she showing up for her deposition tomorrow or not? I have not cancelled the videographer or court reporter.

Howard E. King, Esq.
King, Holmes, Paterno & Soriano
1900 Avenue of the Stars
25th Floor
Los Angeles, California 90067
310 282 8999

On Aug 29, 2022, at 11:36 AM, Jay Ellwanger <jellwanger@equalrights.law> wrote:


I just filed a motion to withdraw as her lawyer and you are asking me what the grounds are for filing a motion to move
the deposition she is scheduled for tomorrow? I’m clear on that, right? Because I absolutely will be including this
exchange in our Certificate of Conference.

Get Outlook for iOS

From: Howard King <hking@khpslaw.com>
Sent: Monday, August 29, 2022 1:30:04 PM
To: Jay Ellwanger <jellwanger@equalrights.law>
Cc: Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane <ksloane@khpslaw.com>; John Snow
<JSnow@khpslaw.com>; Meghan Romere <mromere@equalrights.law>; Gene Williams <gfwilliams@grsm.com>
Subject: RE: Smithline deposition

What are the grounds? She was supposed to appear 2 weeks ago for her duly subpoenaed deposition, an
appearance confirmed on multiple occasions by you. On the day before her appearance, you represented that
she had flown to the United States to obtain emergency psychiatric treatment and therefore could not appear.
Rather than forcing you to make a motion for protection at that time, we made a professional accommodation
to you to continue the deposition date.

You promised to nonetheless immediately complete a full document production, representing that you
already had the responsive documents in your possession. Apparently, that representation was not accurate
as the prmised production was not made.

You also promised written evidence from the treating professional of Ms. Smithline’s medical inability to have
attended the deposition. You also failed to provide that documentation.

Finally, you promised Ms. Smithline would appear for her deposition tomorrow. You have ignored multiple
questions from me seeking confirmation she will appear tomorrow for her deposition.

So, yes, we oppose and would ask that this entire email be included as part of your motion.
                                                           3
      Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 70 of 92 Page ID
                                        #:539


Howard King
King, Holmes, Paterno & Soriano, LLP

From: Jay Ellwanger <jellwanger@equalrights.law>
Sent: Monday, August 29, 2022 11:22 AM
To: Howard King <hking@khpslaw.com>
Cc: Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane <ksloane@khpslaw.com>; John Snow
<JSnow@khpslaw.com>; Meghan Romere <mromere@equalrights.law>; Gene Williams <gfwilliams@grsm.com>
Subject: Re: Smithline deposition

Howard,

Please confirm you oppose the Motion for Protection we are filing on behalf of Ashley Smithline.

Thanks,

Jay

Get Outlook for iOS

From: Howard King <hking@khpslaw.com>
Sent: Monday, August 29, 2022 11:51:20 AM
To: Jay Ellwanger <jellwanger@equalrights.law>
Cc: Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane <ksloane@khpslaw.com>; John Snow
<JSnow@khpslaw.com>; Meghan Romere <mromere@equalrights.law>; Gene Williams <gfwilliams@grsm.com>
Subject: RE: Smithline deposition

We will not be taking the delayed deposition off calendar


Howard King
King, Holmes, Paterno & Soriano, LLP

From: Jay Ellwanger <jellwanger@equalrights.law>
Sent: Monday, August 29, 2022 9:15 AM
To: Howard King <hking@khpslaw.com>
Cc: Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane <ksloane@khpslaw.com>; John Snow
<JSnow@khpslaw.com>; Meghan Romere <mromere@equalrights.law>; Gene Williams <gfwilliams@grsm.com>
Subject: RE: Smithline deposition

Howard,

As you know, I filed my Motion to Withdraw as counsel for Ms. Smithline on August 27 th. I am writing to ask your
agreement to take Ms. Smithline’s deposition in the Bianco v. Warner, et al case off tomorrow’s calendar to allow Ms.
Smithline time to secure replacement counsel. If you will not agree to do so, we will need to file a Motion for Protection
on behalf of Ms. Smithline today, since the Court has obviously not yet ruled on our Motion to Withdraw.




                                                            4
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                                         #:540
Please let us know by 12:00 Pacific whether you will agree to take the deposition off calendar. I cannot make a specific
representation as to when Ms. Smithline could be available to reschedule; in our Motion to Withdraw we asked the
Court for a 90 day extension of current discovery deadlines in Smithline v. Warner, et al.

Sincerely,

Jay D. Ellwanger | Partner | Ellwanger Law LLLP
8310-1 N. Capital of Texas Hwy., Ste. 190
Austin, Texas 78731
(737) 808-2262 (o) & (f)
(512) 731-7467 (m)
jellwanger@equalrights.law
www.ellwangerlaw.com
he/him/his
<image001.png>

From: Howard King <hking@khpslaw.com>
Sent: Friday, August 26, 2022 11:43 AM
To: Jay Ellwanger <jellwanger@equalrights.law>
Cc: Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane <ksloane@khpslaw.com>; John Snow
<JSnow@khpslaw.com>; Meghan Romere <mromere@equalrights.law>; Gene Williams <gfwilliams@grsm.com>
Subject: RE: Smithline deposition

Will Ms. Smithline be here in person for her deposition on Tuesday? Will her delinquent document production
be implemented today?


Howard King
King, Holmes, Paterno & Soriano, LLP

From: Jay Ellwanger <jellwanger@equalrights.law>
Sent: Thursday, August 25, 2022 5:07 PM
To: Howard King <hking@khpslaw.com>
Cc: Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane <ksloane@khpslaw.com>; John Snow
<JSnow@khpslaw.com>; Meghan Romere <mromere@equalrights.law>; Gene Williams <gfwilliams@grsm.com>
Subject: Re: Smithline deposition

And yes, Ms. Smithline does consent to my withdrawal.

Get Outlook for iOS

From: Jay Ellwanger <jellwanger@equalrights.law>
Sent: Thursday, August 25, 2022 6:47 PM
To: Howard King <hking@khpslaw.com>
Cc: Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane <ksloane@khpslaw.com>; John Snow
<JSnow@khpslaw.com>; Meghan Romere <mromere@equalrights.law>; Gene Williams <gfwilliams@grsm.com>
Subject: Re: Smithline deposition

Howard,




                                                            5
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                                         #:541
You know full well that I ethically can’t provide more information to you regarding this type of motion than I have
already provided. Per what evidently seems to be your request, I will tell the Court in my motion that you are opposed
to my withdrawal.

Copying Gene as your position on this issue will also be attributed to him and his firm, and he has a right to know the
course of action you are requiring that I take.

Jay

Get Outlook for iOS

From: Howard King <hking@khpslaw.com>
Sent: Thursday, August 25, 2022 6:40 PM
To: Jay Ellwanger <jellwanger@equalrights.law>
Cc: Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane <ksloane@khpslaw.com>; John Snow
<JSnow@khpslaw.com>; Meghan Romere <mromere@equalrights.law>
Subject: RE: Smithline deposition

Jay,

You haven’t given us enough information to evaluate your motion, including whether Ms. Smithline has consented to
the withdrawal. Regardless, this issue will not be resolved before Tuesday’s deposition, at which Ms. Smithline is
required to appear. Because you did not respond to my note on the start time, we will keep it at the noticed start time
of 8am PT.

Jackson Trugman has also pointed out your failure to produce documents that should have been part of the “full
production” of Smithline’s documents responsive to the subpoena that you promised would be produced last week.

Howard




Howard King
King, Holmes, Paterno & Soriano, LLP

From: Jay Ellwanger <jellwanger@equalrights.law>
Sent: Thursday, August 25, 2022 2:46 PM
To: Howard King <hking@khpslaw.com>
Cc: Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane <ksloane@khpslaw.com>; John Snow
<JSnow@khpslaw.com>; Meghan Romere <mromere@equalrights.law>
Subject: RE: Smithline deposition

Howard,

As we discussed last week, we agreed that in order to seek additional continuances of Ms. Smithline’s deposition I would
ultimately need to provide to you (and the Court) a written assessment from Ms. Smithline’s psychiatrist that she is
unable to participate in litigation due to the current status of her mental health. For reasons which I am ethically
required to keep confidential, I cannot provide this written assessment.

Accordingly, I am going to have to file a Motion to Withdraw as counsel for Ms. Smithline. Please let me know if you
oppose the Motion.

                                                             6
       Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 73 of 92 Page ID
                                         #:542
Sincerely,

Jay D. Ellwanger | Partner | Ellwanger Law LLLP
8310-1 N. Capital of Texas Hwy., Ste. 190
Austin, Texas 78731
(737) 808-2262 (o) & (f)
(512) 731-7467 (m)
jellwanger@equalrights.law
www.ellwangerlaw.com
he/him/his
<image001.png>

From: Howard King <hking@khpslaw.com>
Sent: Thursday, August 25, 2022 1:22 PM
To: Jay Ellwanger <jellwanger@equalrights.law>
Cc: Jackson Trugman <jtrugman@khpslaw.com>; Karen Sloane <ksloane@khpslaw.com>; John Snow
<JSnow@khpslaw.com>
Subject: Smithline deposition

We set it for 8am on Tuesday on the assumption she will be in the UK. If she is here, we can set it for a later
time if you prefer. If she is here, we request that she appear in person for her deposition.


Howard E. King, Esq.
King, Holmes, Paterno & Soriano, LLP
1900 Avenue of the Stars, 25th Floor
Los Angeles, CA 90067
Telephone: 310-282-8999
Facsimile: 310-282-8903
Email: hking@khpslaw.com




                                                        7
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                                  #:543




                             EXHIBIT N
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 75 of 92 Page ID
                                  #:544
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 76 of 92 Page ID
                                  #:545
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 77 of 92 Page ID
                                  #:546
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 78 of 92 Page ID
                                  #:547




                             EXHIBIT O
      Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 79 of 92 Page ID
                                        #:548

Jackson Trugman

From:                             Howard King
Sent:                             Tuesday, August 30, 2022 11:33 AM
To:                               ashley lindsay morgan
Cc:                               Jay Ellwanger; John Snow; Jackson Trugman; Karen Sloane
Subject:                          RE: Ellwanger



I know you told me that you were no longer represented by counsel, but as long as Jay Ellwanger is your
counsel of record, I am not permitted to communicate with you absent his consent.


Howard King
King, Holmes, Paterno & Soriano, LLP

From: ashley lindsay morgan
Sent: Tuesday, August 30, 2022 11:05 AM
To: Howard King <hking@khpslaw.com>
Subject: Fwd: Ellwanger

For a “me too” lawyer, man doesn’t listen to the word no, innit?

sent from my ash phone

Begin forwarded message:

        From: ashley lindsay morgan
        Date: 30 August 2022 at 11:02:37 GMT-7
        To: hkong@khpslaw.com
        Subject: Ellwanger




                                                           1
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 80 of 92 Page ID
                                  #:549




                                      2
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 81 of 92 Page ID
                                  #:550




                                      3
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 82 of 92 Page ID
                                  #:551




 sent from my ash phone




                                      4
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 83 of 92 Page ID
                                  #:552




                             EXHIBIT P
      Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 84 of 92 Page ID
                                        #:553

Jackson Trugman

From:                             ashley lindsay morgan
Sent:                             Tuesday, August 30, 2022 5:18 PM
To:                               Howard King
Cc:                               Jay Ellwanger; John Snow; Jackson Trugman; Karen Sloane
Subject:                          Re: Ellwanger

Follow Up Flag:                   Flag for follow up
Flag Status:                      Flagged


Short of me saying you’re sacked and I fire you, what can I do?

sent from my ash phone



        On 30 Aug 2022, at 11:33, Howard King <hking@khpslaw.com> wrote:


        I know you told me that you were no longer represented by counsel, but as long as Jay
        Ellwanger is your counsel of record, I am not permitted to communicate with you absent his
        consent.


        Howard King
        King, Holmes, Paterno & Soriano, LLP

        From: ashley lindsay morgan
        Sent: Tuesday, August 30, 2022 11:05 AM
        To: Howard King <hking@khpslaw.com>
        Subject: Fwd: Ellwanger

        For a “me too” lawyer, man doesn’t listen to the word no, innit?

        sent from my ash phone

        Begin forwarded message:

                From: ashley lindsay morgan
                Date: 30 August 2022 at 11:02:37 GMT-7
                To: hkong@khpslaw.com
                Subject: Ellwanger




                                                            1
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 85 of 92 Page ID
                                  #:554




                                      2
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 86 of 92 Page ID
                                  #:555




                                      3
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 87 of 92 Page ID
                                  #:556




      sent from my ash phone




                                      4
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 88 of 92 Page ID
                                  #:557




                             EXHIBIT Q
      Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 89 of 92 Page ID
                                        #:558

Jackson Trugman

From:                             ashley lindsay morgan
Sent:                             Tuesday, August 30, 2022 5:18 PM
To:                               Howard King
Cc:                               Jay Ellwanger; John Snow; Jackson Trugman; Karen Sloane
Subject:                          Re: Ellwanger

Follow Up Flag:                   Flag for follow up
Flag Status:                      Flagged


Do you see how he’s lying. I would trust a fruit bat more than him.

sent from my ash phone



        On 30 Aug 2022, at 11:33, Howard King <hking@khpslaw.com> wrote:


        I know you told me that you were no longer represented by counsel, but as long as Jay
        Ellwanger is your counsel of record, I am not permitted to communicate with you absent his
        consent.


        Howard King
        King, Holmes, Paterno & Soriano, LLP

        From: ashley lindsay morgan
        Sent: Tuesday, August 30, 2022 11:05 AM
        To: Howard King <hking@khpslaw.com>
        Subject: Fwd: Ellwanger

        For a “me too” lawyer, man doesn’t listen to the word no, innit?

        sent from my ash phone

        Begin forwarded message:

                From: ashley lindsay morgan
                Date: 30 August 2022 at 11:02:37 GMT-7
                To: hkong@khpslaw.com
                Subject: Ellwanger




                                                            1
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 90 of 92 Page ID
                                  #:559




                                      2
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 91 of 92 Page ID
                                  #:560




                                      3
Case 2:21-cv-03677-FLA-MAR Document 52-1 Filed 09/01/22 Page 92 of 92 Page ID
                                  #:561




      sent from my ash phone




                                      4
